   Case 1:18-cv-02039-JHR-SDA           Document 168        Filed 08/20/24      Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                             ϴͬϮϬͬϮϬϮϰ


KENNETH MARK BURTON as the
Administrator of the Estate of FRANKLIN
RAMOS SANCHEZ, MADGA LILIANA
MARTINEZ ACOSTA, Individually and as
m/n/g of F.N.R.M., an Infant, and FRANCY         Case No. 18 CV 2039 (JLR)(SDA)
TATIANA RAMOS MARTINEZ,

                          Plaintiffs,            REVISED SCHEDULING ORDER

                   v.

UNITED STATES OF AMERICA;
ANTHONY BUSSANICH, M.D., ROBERT
BEAUDOUIN, M.D., TUNESIA MITCHELL,
PA-C, YSMAEL JOAQUIN, MLP, JOHN
DOE, M.D., OPERATIONAL LT. SHIVERS,
BOP JOHN DOE SUPERVISOR 1, BOP JOHN
DOE SUPERVISOR 2, and JOHN/JANE
DOES Nos. 1-10,

                          Defendants.



   IT IS HEREBY ORDERED that the Civil Case Management Plan and Scheduling order is
amended as follows:

     1. All fact discovery shall be completed by October 11, 2024, as limited by prior Orders of
        the Court.

     2. Expert reports shall be served no later than November 12, 2024.

     3. Rebuttal expert reports shall be served no later than December 12, 2024.

     4. Expert depositions shall be completed January 9, 2025.

     5. All discovery shall be completed by January 15, 2025.

     6. The next case management conference is scheduled for , at        .
        dŚĞƉĂƌƚŝĞƐƐŚĂůůĨŝůĞĂũŽŝŶƚůĞƚƚĞƌƌĞŐĂƌĚŝŶŐƚŚĞƐƚĂƚƵƐŽĨĚŝƐĐŽǀĞƌǇŽŶKĐƚŽďĞƌϭϴ͕ϮϬϮϰ͘
   Case 1:18-cv-02039-JHR-SDA   Document 168     Filed 08/20/24    Page 2 of 2




                                 SO ORDERED:

Dated: New York, NY
August , 2024


                                  STEWART D. AARON
                                  United States Magistrate Judge




                                                                                 2
